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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA FILED
                          WAYCROSS DIVISION          U .5
                                                          . 01ST, DOURBRURSWtCK 914 .

                                                                   1005 MAY 2 3 P 3 12
UNITED STATES OF AMERICA                  )      Ct_ERt                      T. "I F GA
                                  } CASE NO . C R505-0 08
             V.                  )

THOMAS HEATH HOLMES }
MARK ASHLEY GRIFFIN )


                                      ORDER


      The Court has been advised that all motions filed by MarkAshley Griffin have

been resolved by the parties .

      Accordingly, all such resolved motions are hereby DISMISSED as moot.

      SO ORDERED , this          z3     ay of May, 2005 .




                                          MES E . GRAHAM
                                         NITED STATES MAGISTRATE JUDGE
